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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
                                                             :                              7/1/2021
ADELAIDO GALEANA and NICHOLAS                                :
GALEANA,                                                     :
                                                             :
                                         Plaintiffs,         :               14-CV-3625 (VSB)
                                                             :
                           -against-                         :                   ORDER
                                                             :
                                                             :
MAHASAN INC. et al.,                                         :
                                                             :
                                         Defendants.         :
                                                             :
                                                             :
----------------------------------------------------------- X

 VERNON S. BRODERICK, United States District Judge:

          In light of the representations made at the order to show conference held in this case on June

 30, 2021, (Doc. 153), it is hereby:

          ORDERED that default judgment is entered as to liability against Defendant Mahasan Inc. I

 am referring this matter to Magistrate Judge Kevin Nathaniel Fox for an inquest on damages.

          IT IS FURTHER ORDERED that Plaintiffs are directed to file on the docket, on or before

 July 9, 2021, any information about bankruptcy proceedings involving Defendant Juntima

 Netprachak

          IT IS FURTHER ORDERED that Plaintiffs are directed to serve a copy of this Order on

 Defendants at their last known address(es) and then file proof of service on the docket.

 SO ORDERED.

 Dated:            July 1, 2021
                   New York, New York
                                                                 ________________________________
                                                                 Vernon S. Broderick
                                                                 United States District Judge
